Case 8:17-cv-00190-SDM-SPF Document 287 Filed 09/04/20 Page 1 of 2 PageID 12571




                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION


  FINANCIAL INFORMATION
  TECHNOLOGIES, LLC,

                           Plaintiff,
                                                             Case No.: 8:17-cv-00190-SDM-SPF
         v.

  ICONTROL SYSTEMS, USA, LLC,

                       Defendant.
  ___________________________________________/

                            iCONTROL’S NOTICE OF APPEAL

        Defendant iControl Systems, USA, LLC (“iControl”) hereby appeals to the United States

 Court of Appeals for the Eleventh Circuit from the judgment entered on March 5, 2020 (Doc. 251),

 and from all interlocutory or other orders and rulings subsidiary or relating thereto, including

 without limitation the order entered on August 10, 2020 (Doc. 279).




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Case 8:17-cv-00190-SDM-SPF Document 287 Filed 09/04/20 Page 2 of 2 PageID 12572




                                 CERTIFICATE OF SERVICE

        I certify that on September 4, 2020, I electronically filed the foregoing via the Court’s

 CM/ECF filing system, which will send a notice of filing to all counsel of record.

                                              /s/ Jeffrey S. Bucholtz
                                              Jeffrey S. Bucholtz (Pro Hac Vice)




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